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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA
                                              CRIMINAL ACTION NO. 04-90040
                Plaintiff,
                                              CIVIL ACTION NO. 09-11044

        v.                                    DISTRICT JUDGE MARIANNE O. BATTANI

 JOSE CRUZ,                                   MAGISTRATE JUDGE VIRGINIA M. MORGAN

                Defendant.

 ______________________________/


                       REPORT AND RECOMMENDATION TO DENY
                             § 2255 MOTION TO VACATE


 I.    INTRODUCTION
        This is a pro se 28 U.S.C. § 2255 case that comes before the court on movant’s Motion to

 Vacate, Set Aside, or Correct the Sentence (D/E #148) and Amended Motion to Vacate (D/E

 #157). The matter has been referred to the undersigned for a Report and Recommendation. For

 reasons stated below, the court recommends that the motion to vacate be DENIED.1


 II.   BACKGROUND

        This case arose out of an FBI investigation of gang activity and drug sales in the Detroit

 area. It was the government’s position at trial that the movant and his co-conspirators would rob


 1
   In August 2009, movant filed a Motion for Summary Judgment (D/E #161) alleging that the
 government had not responded to his motion. It appears that movant had not received a copy of
 the government’s July response, D/E #158, in opposition to the motion. The government noted
 the same and served a copy on the movant. Thus, this court deems D/E #161 to be a request for
 service and it is denied as moot.
                                                 1
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 “drug houses” as a way to make quick money. (Tr. II, p. 15).2 They would take large quantities

 of controlled substances from these drug houses and later they would sell the drugs. (Tr. II, p.

 15). The government also alleged that the robbers used guns on more than one occasion and at

 least one time with a Molotov cocktail. (Tr. II, p. 16-17).

           Movant was indicted on three counts: one count of conspiracy to distribute and

 distribution of marijuana, 21 U.S.C. § 841 (b)(1)(C) and 21 U.S.C. § 846, one count of use of an

 explosive device during or in relation to a drug trafficking crime, 18 U.S.C. §924 (c)(1)(B)(ii),

 and one count of use of a firearm during or in relation to a drug trafficking crime, 18 U.S.C.

 §924 (c)(1)(A)(i). (D/E #11). Movant’s jury trial began on November 15, 2005, and he was tried

 with his co-defendants: James Cherry, Benjamin Booth, and Marshall Miller. Miller pleaded

 guilty during the trial and Booth was acquitted. The jury convicted Cherry and movant on all

 counts.

           Movant appealed to the Sixth Circuit, which affirmed his conviction. He raised issues

 related to failure to instruct on a lesser-included offense and vouching for a witness. He did not

 raise in the Sixth Circuit any of the issues currently before the court.3




 2
   For ease of reference, the transcripts provided by the parties in this case will be referred to as
 follows:
         Tr. I =        Trial—D/E #130, Volume I, November 15, 2005
         Tr. II =       Trial—D/E #131, Volume II, November 16, 2005
         Tr. III =      Trial—D/E #132, Volume III, November 17, 2005
         Tr. IV =       Trial—D/E #133, Volume IV, November 18, 2005
         Tr. V =        Trial—D/E #134, Volume V, November 21, 2005
         Tr. VI =       Trial—D/E #135, Volume VI, November 22, 2005
 3
  The government states that movant raised Issue One (insufficient evidence) in his appeal. The
 government is incorrect. It was defendant Cherry who raised this issue.
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       A. Motion to Vacate, Set Aside, or Correct Sentence

           On March 18, 2009, movant filed a Motion to Vacate, Set Aside, or Correct Sentence

 (D/E #148) raising three issues, and then in June, 2009, he filed an amended motion (D/E #157)

 raising two additional issues. The court will consider all five issues.4

           1. The jury erred by convicting on Count I where there was insufficient evidence;

           2. The evidence presented to sustain a conviction on Count I amounted to a variance of
              what was charged in the indictment; and

           3. Movant was denied effective assistance of counsel by the court denying him his
              choice of counsel and for his attorney revoking a request for multiple conspiracies
              jury instructions.

 In his amended motion to vacate, movant raises two more issues:

           1. Movant was denied due process of the law at sentencing when he was convicted twice
              under the same statute.

           2. Movant was denied effective assistance of counsel by his trial counsel’s failure to
              object to the government’s use of multiple sentences under the same statute.

           On July 7, 2009, respondent filed an answer addressing both the motion and amended

 motion to vacate (D/E #158).

 III. STANDARD OF REVIEW

                  A prisoner in custody under sentence of a court established by Act of
                  Congress claiming the right to be released upon the ground that the
                  sentence was imposed in violation of the Constitution or laws of the
                  United States, or that the court was without jurisdiction to impose such
                  sentence, or that the sentence was in excess of the maximum authorized by
                  law, or is otherwise subject to collateral attack, may move the court which
                  imposed the sentence to vacate, set aside or correct the sentence.

 28 U.S.C. § 2255(a).


 4
     The court considers all issues because the movant is pro se.
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        A person seeking relief under § 2255 “must allege one of three bases as a

 threshold standard: (1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law that was so fundamental as to

 render the entire proceeding invalid.” Weinberger v. U.S., 268 F.3d 346, 351 (6th Cir.

 2001). To prevail under § 2255, a fundamental defect must exist which results in

 complete injustice or in violation of due process. Nagi v. U.S., 90 F.3d 130, 133-34 (6th

 Cir. 1996). Further, good cause and actual prejudice must be shown if these issues were

 not brought up on appeal. Harris v. Reed, 489 U.S. 255, 258 (1989).

 IV. DISCUSSION

    A. Issues I – IV are Procedurally Defaulted

        Issues I through IV are: (1) insufficient evidence on Count I; (2) evidence presented to

 sustain a conviction on Count I amounted to a variance; (3) the district court abused its discretion

 by denying movant his choice of counsel; and (4) movant was denied due process by being

 charged twice with the same statute. Movant raised none of these issues on direct appeal. Any

 issue not raised on appeal is procedurally defaulted and is considered waived by the defendant.

 Harris, 489 U.S. at 258. For this court to review a procedurally defaulted claim that has been

 waived, good cause and actual prejudice must exist or there has to have been a complete

 “miscarriage of justice.” Id. Movant must explain cause, that is, the reason the issue was not

 addressed on appeal and explain further the harm done to him, in order to establish prejudice.

 United States v. Frady, 456 U.S. 152, 168 (1982). “[T]o obtain collateral relief a prisoner must

 clear a significantly higher hurdle than would exist on direct appeal.” Id. at 166.

        In this case, movant has not demonstrated cause or prejudice for his failure to do so and

 consequently, the issues are barred from judicial review. Even if movant can show cause for not

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 addressing these issues in trial and on appeal, he cannot establish actual prejudice and is not

 entitled to relief. With the exception of ineffective assistance of counsel, all of the issues in the

 motion are barred from review on the grounds that they are procedurally defaulted.

    1. Appellate Counsel’s Failure to Raise the Claims Does Not Establish Good Cause

        Failure of counsel to raise claims that the movant thinks are important are not sufficient

 to show cause for procedurally defaulted claims. McMeans v. Brigano, 228 F.3d 674, 682 (6th

 Cir. 2000). The movant has the duty to show that the appellate counsel “was scarcely functioning

 as counsel at all and that those errors undermine the reliability of the defendant’s convictions.”

 Id. Counsel’s failure to assert every claim does not qualify as a non-functioning appellate

 counsel. Id. at 683. Appellate counsel’s failure to raise claims is not considered unreasonable.

 Smith v. United States, 19 Fed.Appx. 346, 348 (6th Cir. 2001). The decision to not raise claims

 can be based on strategy and counsel is still considered effective. Id.

    2. Movant Has Failed to Show Prejudice

        To show prejudice, movant must prove that actual harm was done. Frady, 456 U.S. at

 168. A review of the merits of the each of the first four claims clearly shows that movant

 suffered no actual prejudice.

            a. Claim of Insufficient Evidence.

        Movant asserts that the evidence presented by the prosecution was insufficient to support

 his conviction for Count One, a violation of 21 U.S.C. § 846, the conspiracy to violate 21 U.S.C.

 § 841(a)(1).

        The distribution statute states: “Except as authorized by this subchapter, it shall be

 unlawful for any person knowingly or intentionally—(1) to manufacture, distribute, or dispense,

 or possess with intent to manufacture, distribute, or dispense, a controlled substance.” 21 U.S.C.

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 § 841(a)(1). The conspiracy statute states: “Any person who attempts or conspires to commit any

 offense defined in this subchapter shall be subject to the same penalties as those prescribed for

 the offense, the commission of which was the object of the attempt or conspiracy.” 21 U.S.C. §

 846.

        The elements to a conspiracy are: (1) an [objective] to be accomplished; (2) a plan or

 scheme embodying means to accomplish that [objective]; and (3) an agreement or understanding

 between two or more of the defendants whereby they become definitely committed to cooperate

 for the accomplishment of the [objective]…by any effectual means. U.S. v. Deitz, 577 F.3d 672,

 677 (6th Cir. 2009).

        In considering whether there was sufficient evidence for any rational trier of fact to find

 proof beyond a reasonable doubt as to every element of the crime, we consider all of the

 evidence in the light most favorable to the prosecution. Jackson v. Virginia, 443 U.S. 307, 319

 (1979). This creates a “very heavy burden” on the movant to prove an insufficiency of the

 evidence claim. United States v. Tocco, 200 F.3d 401, 424 (6th Cir. 2000). Only minimal

 evidence is needed to connect a distribution claim once a conspiracy has been proven. Id. The

 courts will not review all of the information given at trial for the jury to review an insufficiency

 of the evidence claim. United States v. Ferguson, 23 F.3d 135, 140 (6th Cir. 1994).

        A review of the trial shows that the evidence was more than sufficient. At the trial, FBI

 Special Agent Joseph Callahan testified that he was the case agent investigating gang activity in

 the Detroit area. (Tr. II, p. 48). He testified that movant was part of the “Mendez organization of




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 the Latin Counts gang.”5 The evidence was obtained from cooperating witnesses (movant’s co-

 conspirators), a wiretap, and consensually recorded conversations. (Tr. II, p. 48-49).

         Special Agent Callahan testified that over the course of his investigation that he

 intercepted over 300 violation calls. (Tr. II, p. 49-50). According to Special Agent Callahan,

 most of the violation calls were in regard to drug trafficking and the rest dealt with murder, auto

 theft, and home invasions. (Tr. II, p. 50). The goal for the FBI with the Mendez organization was

 to stop the multiple drug related home invasions from the gang. (Tr. II, p. 52). Callahan testified

 that the primary cooperating witness, Emanuel Raynor, consented to the FBI recording his

 conversations with individuals with whom he had previously committed prior crimes in an effort

 to get those individuals to discuss those prior crimes. (Tr. II, p. 55). The information led to a 29-

 person indictment, which included movant. (Tr. II, p. 55-56). Two specific home invasions were

 the subjects of the indictment against movant: one at 598 Bayside Street and one at Stone Street.

 (Tr. II, p. 61, 64-64).

         Here, the conspiracy and distribution involved a drug trafficking scheme in which the

 movant participated or aided in home invasions. As shown above, Raynor testified that the

 movant sold drugs (Tr. IV, p. 83) and Contreras testified that movant received one pound of

 marijuana from the Bayside home invasion. (Tr. III, p. 127). The degree of the movant’s

 involvement in each of the two home invasions is sufficient for a rational jury to conclude that he

 was guilty.

         Viewing the above evidence in a light most favorable to the prosecution, this court finds

 that a reasonable jury could find (and in fact did find) the movant was involved in the planning,


 5
  Mario Mendez is thought by the FBI to be the leader of this section of the Latin Counts gang,
 but was not included in this trial.
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 was involved in gathering the weapons for the home invasions, and was a drug dealer. The

 movant’s claim of insufficient evidence is therefore without merit. Thus, there is no prejudice

 because movant’s insufficient evidence claim is meritless and would have been rejected on

 appeal.

           i. Bayside Street Home Invasion

           Santiago Santillana testified that he was a drug dealer and that he would gather

 information about drug stash houses from his drug buyers. (Tr. IV, p. 17). Santillana stated that

 he would later relay the stash house information to Mario Mendez and Emanuel Raynor for

 home invasions. (Tr. IV, p. 16-17). Emanuel Raynor testified that he received information about

 a stash house on Bayside and that he talked to Cherry about doing a home invasion on the

 Bayside address. (Tr. IV, p. 41). Anthony Contreras testified that he, Cherry, Booth, Rodriguez,

 Raynor and movant conspired to do a home invasion for drug trafficking and that Cherry and

 movant were involved in the planning.6 (Tr. III, p. 13).

           According to Contreras, movant and Jeffrey Rodriguez went to the corner gas station to

 purchase gasoline for a Molotov cocktail to gain access into the home at 598 Bayside Street. (Tr.

 III, p. 14-15). Raynor testified that the Molotov cocktail was needed because the Bayside house

 was barricaded. (Tr. IV, p. 94). Jeffrey Rodriguez testified that he went with movant to a gas

 station to fill a plastic bottle with gasoline for the Molotov cocktail. (Tr. V, p. 14). Raynor stated

 that Cherry came to Detroit with the weapons for the home invasion and that Cherry made the




 6
  These cooperating witnesses were co-defendants that accepted plea offers from the
 government to testify in this trial in exchange for reduced sentences: Anthony Contreras,
 Santiago Santillana, Emanuel Raynor, Mario Mendez, Jeffrey Rodriguez, and Marvin Watson.
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 Molotov cocktail.7 (Tr. IV, p. 93). Contreras stated that Cherry threw the Molotov cocktail

 through the window of the Bayside house and that he, Cherry, Rodriguez, Booth, and “Tony”

 were all at the Bayside home invasion.8 (Tr. III, p. 15-17).

           Rodriguez stated that movant and Raynor stayed back at movant’s house on Military

 Street during the Bayside home invasion. (Tr. V, p. 15). Movant did not participate in the actual

 home invasion on Bayside, but he gave his gun to Rodriguez to use. (Tr. IV, p. 94). Contreras

 testified that after the Bayside home invasion, they went to movant’s house and divided the

 marijuana that was taken from the home. (Tr. III, p. 16-18). Raynor testified that 20 pounds of

 marijuana was taken from Bayside and that all that were involved in the conspiracy took some of

 the marijuana. (Tr. IV, p. 97-98). Rodriguez also testified that everyone was able to take some of

 the marijuana from the home invasion. (Tr. V, p. 20). Contreras testified that movant received

 one pound of marijuana from the Bayside home invasion. (Tr. III, p. 127).

           Contreras said that the reason for doing these home invasions were for drugs and money,

 and that all involved parties agreed to participate. (Tr. III, p. 58, 63). Santillana testified that

 movant gave him two pounds of marijuana for the information about the Bayside stash house.

 (Tr. IV, p. 22). Santillana stated that he sold the two pounds of marijuana that he received. (Tr.

 IV, p. 23).

           ii.    Stone Street Home Invasion

           Emanuel Raynor also testified about the incident on Stone Street. Raynor stated that he

 sold large quantities of marijuana to James Cherry. (Tr. IV, p. 80). Raynor also stated that


 7
  Raynor testified that Cherry brought the weapons but later states that Cherry only had a pump
 shotgun. (Tr. IV, p. 95).
 8
     “Tony” has not been identified or located.
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 movant sold drugs. (Tr. IV, p. 83). Raynor testified that movant received information on a stash

 house on Stone Street and that movant asked Raynor to recruit people for a home invasion. (Tr.

 IV, p. 84). Marvin Watson testified that he, movant, Miller, and Cherry participated in the Stone

 Street home invasion. (Tr. V, p. 61, 64). Raynor stated that he believed that the Stone Street

 home contained several bags of marijuana and 300-400 ecstasy pills. (Tr. IV, p. 86).

           Raynor also testified that movant had taken a .32 gun to the Stone Street home invasion.

 (Tr. IV, p. 88). Watson stated that movant had a gun and attacked people inside the house. (Tr.

 V, p. 65-66). Only 9-10 bags of marijuana and an AK-47 gun were found at Stone Street and the

 marijuana was split between everyone involved. (Tr. IV, p. 90). Watson also testified that they

 smoked the marijuana that was found in the home because there was not enough to sell. (Tr. V,

 p. 67).

           During closing arguments, the prosecutor stated:

                  And in this particular case, I think that the evidence has established
                  that the particular conspiracy for the most part consisted of James
                  Cherry and Jose Cruz. They were not participants in both of the
                  home invasions. They were the participants in the conspiracy to
                  possess and get a significant amount, significant amount of drugs
                  to sell.

                  So in terms of establishing an agreement, I believe that the
                  testimony is sufficient for you to find beyond a reasonable doubt
                  that there was an agreement between the individuals, the
                  defendants that are seated here. That the agreement was to do
                  something unlawful. That is was to break into homes. To possess
                  controlled substances, intending to distribute them later. And that
                  the participants, Mr. Booth, Mr. Cruz and Mr. Cherry were part of
                  the agreement knowingly. It wasn’t an accident, it wasn’t a mistake
                  that they were there.

                  And in terms of a slight connection, Mr. Cruz had more than a
                  slight connection to this. He may not have participated in the actual
                  home invasion itself. But the testimony from all the witnesses there
                  was that Mr. Cruz himself went with Jeffrey Rodriguez, purchased
                  the gasoline to make the Molotov cocktail, and then either made it
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                himself or somebody made it and handed it to James Cherry, who
                then took it and used it. That is a connection to the conspiracy.
                That is a knowing act to help the conspiracy or the agreement
                further their purpose.

 (Tr. VI, pp. 10-12).

         With respect to the elements of the conspiracy charges against movant, the trial court
 instructed the jury that:

                For you to find the defendants guilty of this crime, you must be convinced
                that the government has proved each of the following beyond a reasonable
                doubt:

                First, that two or more persons, directly or indirectly, reached an
                agreement to possess with intent to distribute, and to distribute, marijuana.

                Second, that the defendants knew of the unlawful purpose of the
                agreement.

                Third, that the defendants knowingly joined in the agreement. That is, with
                the intent to further its unlawful purpose.

                With regards to the [first element], a criminal [agreement the] government
                must prove two or more persons conspired, or agreed, to cooperate with
                each other to commit the crime of possession with intent to distribute and
                to distribute marijuana.

                This does not require proof of any formal written or spoken agreement, or
                that everyone agreed on all the details. But proof that people simply met
                together from time to time and talked about common interests, or engaged
                in similar conduct, is not enough. You can consider these things in
                deciding whether the government has proved criminal agreement, but
                without more they are not enough.

                What the government must prove is that there was a mutual understanding,
                either spoken or unspoken, between two or more people, to cooperate with
                each other to commit the crime of possession with intent to distribute and
                to distribute marijuana. This is essential.

 (Tr. VI, pp. 71-72).




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                 b. Variance to the Charges in the Indictment

         The movant claims that the evidence presented to prove conspiracies were a variance to

 what the indictment charged and that those conspiracies did not involve him. Congress’s

 intention was to have a reasonable rule for variances, which is “upon examination of the entire

 record, [if] substantial prejudice does not appear, the error must be regarded as harmless.”

 Berger v. U.S., 295 U.S. 78, 82 (1935). Further, where the allegation and the proof substantially

 correspond, a variance does not exist to mislead the jury.” Id. at 83. This claim is also

 procedurally defaulted.

         The Fifth Amendment ensures that a defendant is only tried on the crimes listed on an

 indictment. United States v. Manning, 142 F.3d 336, 339 (6th Cir. 1998). The evidence presented

 and instructions given to the jury may materially alter the information on the crime being

 charged and amount to a variance. Id. However, a substantial likelihood that a defendant is

 charged for a crime not listed on the indictment must exist to prevail on this claim. Id. To prove

 that there was a substantial likelihood, the movant must show prejudice in his defense or that the

 trial was unfair as a result. Id.

         Here, the facts given at trial to prove conspiracy did not differ materially from those in

 the indictment. A drug distribution conspiracy is described as:

                 Drug distribution conspiracies are often “chain” conspiracies such that
                 agreement can be inferred from the interdependence of the enterprise. One
                 can assume that participants understand that they are participating in a
                 joint enterprise because success is dependent on the success of those from
                 whom they buy and to whom they sell.

          Deitz, 577 F.3d at 678.

         The government argues that the movant is simply making a “back door attempt to re-

 argue the denial of his severance motion.” (D/E #158). The government also argues that the

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 conspiracy evidence relates individually to each defendant involved in the crime, which does not

 amount to multiple conspiracies. (D/E #158).

        Several Latin Counts gang members were involved in a conspiracy to distribute drugs

 involved a drug trafficking scheme that included performing home invasions. Raynor testified

 that the movant sold drugs (Tr. IV, p. 83) and Contreras testified that movant received one pound

 of marijuana from the Bayside home invasion. (Tr. III, p. 127). It does not matter that Raynor

 relayed the drug stash house information on Bayside Street to someone other than the movant if

 the movant was involved in the home invasion. Further, movant was in direct contact with

 Raynor regarding the Stone Street home invasion, and as such, he is equally involved in the

 conspiracy. The degree of the movant’s involvement in each of the two home invasions is

 sufficient to conclude that he was guilty of being involved in this one conspiracy.

        The movant was involved and convicted for the conspiracy listed in the indictment. There

 is no information given by movant to show cause or prejudice for not giving a multiple

 conspiracy instruction to the jury. The jury instruction argument would not have had an effective

 application at trial or on appeal and therefore this claim lacks merit. There is no prejudice for

 failure to raise on appeal. Absent any showing that cause and prejudice, the jury instructions can

 be barred on that alone.

            c. Attorney’s Request to Withdraw as Counsel and Movant’s Request for
               Choice of Counsel.

        Movant argues that the trial court abused its discretion by denying him his choice of

 counsel and by denying his counsel’s motion to withdraw. First, the movant does not have a right

 to choose a particular attorney when receiving court appointed counsel. United States v. White,

 451 F.2d 1225, 1226 (6th Cir. 1971). The trial court has the discretion to change the appointed


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 counsel once during the trial. Id. Further, there is no abuse of discretion for the trial judge

 refusing to replace court appointed counsel at any time during the trial. Id.

         The constitutional concern is whether a defendant received an effective advocate, but

 movant does not argue that in this issue. Ray v. Curtis, 21 Fed. Appx. 333, 335 (6th Cir. 2001).

 There is no constitutional violation merely because the defendant is not allowed to choose his

 counsel. Id. As described above in the standard of review, § 2255 requires a constitutional

 violation.

         Prejudice cannot be shown because even if the appellate counsel would have raised this

 issue on appeal, it would have been rejected. After analysis, this claim is without merit and no

 constitutional error exists.

              d. Due Process Not Denied in Sentences Under 924(c)

         The movant claims that there was a violation of his due process rights when he was

 sentenced twice under the same statute. Under 18 U.S.C. § 924(c), the defendant may be charged

 once for each incident in violation of this statute.9 The relevant portion of the statute states:

                 Except to the extent that a greater minimum sentence is otherwise
                 provided by this subsection or by any other provision of law, any person
                 who, during and in relation to any crime of violence or drug trafficking
                 crime (including a crime of violence or drug trafficking crime that
                 provides for an enhanced punishment if committed by the use of a deadly
                 weapon or device) for which the person may be prosecuted in a court of
                 the United States, uses or carries a firearm, or who, in furtherance of any
                 such crime, possesses a firearm, shall, in addition to the punishment
                 provided for such crime of violence or drug trafficking crime—

 18 U.S.C. § 924(c)(1)(A).



 9
  Part of 18 U.S.C. § 924 was found to be unconstitutional after movant was sentenced; however,
 no portion of § 924(c) was affected and the language in this section of the statute remains
 unchanged.
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        The indictment charged movant with acts under § 924(c) at two separate home invasions

 on separate occasions: one at 598 Bayside Street and one at Stone Street. (Tr. II, p. 61, 64-64).

 The evidence established that movant was involved in both of these home invasions. For

 Bayside, movant was not present but purchased the gasoline for the Molotov cocktail so that his

 co-conspirators could gain access into the drug stash house at that location. (Tr. III, p. 14-15).

 Also for Bayside, movant provided his gun to Rodriguez to use during the Bayside home

 invasion. (Tr. IV, p. 94). Movant was convicted of one count of § 924(c) and sentenced to 30

 years, the higher minimum sentence based on the Molotov cocktail; he did not receive an

 additional sentence for the gun he gave to Rodriguez. Movant’s second violation of § 924(c)

 resulted from a separate incident, on another day in 2001, when movant participated in the Stone

 Street home invasion using a gun. (Tr. IV, p. 88) For this, he received five years. In his

 sentencing challenge, movant contends that the district court erred in counting the two

 convictions as separate offenses for purposes of 18 U.S.C. § 924(c) because he was also

 convicted of conspiracy and also seems to argue that the two convictions should be counted as

 one. Movant is wrong. First, it should be noted that the district judge sentenced movant to only

 one day on the conspiracy count. He received five years on one § 924(c) count and 30 years on

 the other. Section 924(c) mandates consecutive sentences for second or subsequent offenses. 18

 U.S.C. §§ 924(c)(1)(C). This circuit has reviewed the same argument in a carjacking context in

 United States v. Fekete, 535 F.3d 471, 482 -483 (6th Cir, 2008). The court stated that “Sections

 924(c)(1)(A), (C) & (D) clearly provide that two firearm convictions in connection with separate

 underlying felony offenses must be counted as independent convictions, carrying consecutive

 sentences of 7 and 25 years.” Id. The Fekete court also quoted Deal v. United States, 508 U.S.

 129, 136-137(1993), where the Supreme Court held that where a defendant is charged and

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 convicted of multiple § 924(c) offenses in the same case, each additional conviction is “a second

 or subsequent conviction” within the plain meaning of the statute. United States v. Fekete, 535

 F.3d 471, 482 -483 (6th Cir, 2008) The circuit court found no reason why the fact that Fekete

 was also convicted of conspiracy to commit multiple carjackings would alter the propriety of

 sequentially counting the two separate carjacking convictions for the purposes of sentencing. Id.

 at 482-483. Thus, district court's sentencing determination in movant’s case was entirely

 appropriate.

        Nor is there ineffective assistance of counsel shown because there was no prejudice. On

 appeal the court would have found that two separate offenses may be charged for each offense

 regardless of whether the charges stem from the same statute. Therefore, since none of the issues

 I-IV are shown to have resulted in prejudice, and no good cause is shown for failure to raise

 them, they are procedurally defaulted and barred from review.

    B. Issue V: Ineffective Assistance of Trial Counsel Does Not Merit Relief

        Movant claims that his trial counsel at the trial was ineffective. Ineffective assistance of

 counsel does not need to be raised on appeal and can be brought into a collateral proceeding with

 § 2255. Massaro v. U.S., 538 U.S. 500, 504 (2003). Ineffective assistance of counsel, if shown,

 automatically meets the cause element for procedurally defaulted claims. Murray, 477 U.S. at

 488.

        To prevail on an ineffective assistance of counsel claim, the movant has the burden of

 showing:

                First, the defendant must show that counsel's performance was deficient.
                This requires showing that counsel made errors so serious that counsel
                was not functioning as the “counsel” guaranteed the defendant by the
                Sixth Amendment. Second, the defendant must show that the deficient
                performance prejudiced the defense. This requires showing that counsel's
                errors were so serious as to deprive the defendant of a fair trial, a trial
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                  whose result is reliable. Unless a defendant makes both showings, it
                  cannot be said that the conviction or death sentence resulted from a
                  breakdown in the adversary process that renders the result unreliable.

 Strickland v. Washington, 466 U.S. 668, 687 (1984). The movant must show that he was

 actually prejudiced by his counsel’s deficient performance. Id.

           Movant argues that his trial counsel was ineffective because he did not object to

 the government sentencing him twice under the same statute. As discussed above, this

 claim is without merit. There was no error in the sentencing.

           Additionally, movant argues that his trial counsel was ineffective for withdrawing

 his request for a multiple conspiracies jury instruction. Also, as discussed in the claim of

 improper variance, there was no error. Trial counsel vigorously advocated for movant;

 the record is replete with objections and motions.

           Following the trial, counsel for movant filed an Eighth Amendment Constitutional

 Challenge to Sentencing and Motion to Adjourn Sentencing and Brief. (D/E #108). Counsel

 stated that 30 years imprisonment for the Molotov cocktail and five years imprisonment for the

 firearm were “ridiculous and harsh beyond imagination.” (D/E #108). Further, counsel asked for

 a court appointed investigator to review court records in other jurisdictions on whether the 30-

 year sentence for the Molotov cocktail violates the Eighth Amendment.10 (D/E #108).

           Movant argues that both trial and appellate counsel were ineffective. On appeal to the

 Sixth Circuit, appellate counsel for movant argued that the district court erred in not giving jury

 instructions for the lesser offense of simple possession and for improper vouching for a

 government witness. U.S. v. Cruz, 270 Fed.Appx 393 (6th Cir. 2008); (D/E #144). The appellate

 court rejected that claim and held that movant did not meet the qualifications for jury instructions

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      The ruling from this motion does not appear on the docket.
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 of simple possession because the evidence did not support simple possession and the difference

 between conspiracy and possession were not sufficiently disputed. (D/E #144). For the improper

 vouching, the Sixth Circuit held that the objection to vouching was not correct since vouching

 relates to the prosecutor and not the witness’s statements. Thus, appellate counsel raised

 substitute arguments. The fact that he did not prevail does not make his claim ineffective.

        These are not sufficient to show that counsel was ineffective. Counsel does not

 have to make a futile objection or have a trial strategy approved by the movant to be

 considered effective. Further, movant’s trial counsel did not make any errors that created

 an unfair trial with an unreliable result. Thus, movant was not denied due process and the

 habeas petition does not merit relief.



    V. CONCLUSION

        For the reasons stated above, the Court recommends that the movant’s Motion to Vacate,

 Set Aside, or Correct Sentence and Amended Motion to Vacate be DENIED.

        The parties to this action may object to and seek review of this Report and

 Recommendation, but are required to act within ten (10) days of service of a copy hereof as

 provided for in 28 U.S.C. § 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific

 objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140

 (1985); Howard v. Secretary of HHS, 932 F.2d 505, 508 (6th Cir. 1991); United States v. Walters,

 638 F.2d 947, 949-50 (6th Cir. 1981). The filing of objections which raise some issues, but fail to

 raise others with specificity, will not preserve all the objections a party might have to this Report

 and Recommendation. Willis v. Secretary of HHS, 931 F.2d 390, 401 (6th Cir. 1991); Smith v.



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 Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to E.D.

 Mich. LR 72.1(d)(2), a copy of any objections is to be served upon this magistrate judge.

        Within ten (10) days service of any objecting party’s timely filed objections, the opposing

 party may file a response. The response shall be no more than 20 pages in length unless, by

 motion and order, the page limit is extended by the court. The response shall address each issue

 contained within the objections specifically and in the same order raised.


                               S/Virginia M. Morgan
                               Virginia M. Morgan
                               United States Magistrate Judge


 Dated: November 18, 2009




                                         PROOF OF SERVICE



 The undersigned certifies that the foregoing document was served upon counsel of record and Jose
 Cruz via the Court’s ECF System and/or U. S. Mail on November 18, 2009.



                                                       s/Jane Johnson
                                                       Case Manager to
                                                       Magistrate Judge Virginia M. Morgan




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